      Case 19-61688-wlh              Doc 115   Filed 09/11/19 Entered 09/11/19 17:52:59                                    Desc Main
                                              Document      Page 1 of 4
                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                ATLANTA DIVISION


      In re:                                                                               Chapter 11

      EAT HERE BRANDS, LLC, et al.1,                                                       Case No. 19-61688 (WLH)

                                        Debtors.                                           (Jointly Administered)


                                                 CERTIFICATE OF SERVICE

        I, Colin Linebaugh, am employed in the county of Los Angeles, State of California. I hereby
certify that on August 31, 2019, at my direction and under my supervision, employees of Omni
Management Group caused true and correct copies of the following document(s) to be served via e-mail
to the parties listed on Exhibit A attached hereto:

        Global Notes, Reservation of Rights, and Statement of Limitations, Methodology and
         Disclaimer Regarding Debtors’ Schedules and SOFAs (Eat Here Brands; Case No. 19-
         61688) [Docket No. 87]

        Schedules of Assets and Liabilities and Statement of Financial Affairs (Eat Here Brands;
         Case No. 19-61688) [Docket No. 88]

        Schedules of Assets and Liabilities and Statement of Financial Affairs (Babalu Atlanta #1
         LLC; Case No. 19-61699) [Docket No. 11]

        Schedules of Assets and Liabilities and Statement of Financial Affairs (Babalu Atlanta #2
         LLC; Case No. 19-61704) [Docket No. 11]

        Schedules of Assets and Liabilities and Statement of Financial Affairs (Babalu Knoxville #1
         LLC; Case No. 19-61705) [Docket No. 11]

        Schedules of Assets and Liabilities and Statement of Financial Affairs (Babalu Memphis #1
         LLC; Case No. 19-61710) [Docket No. 11]

        Schedules of Assets and Liabilities and Statement of Financial Affairs (Babalu Memphis #2
         LLC; Case No. 19-61713) [Docket No. 11]

        Schedules of Assets and Liabilities and Statement of Financial Affairs (Babalu, LLC; Case
         No. 19-61718) [Docket No. 11]




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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are as follows: Eat
Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta #2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu
Memphis #1 LLC (9320); Babalu Memphis #2 LLC (4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’
mailing address is 9755 Dogwood Road, Suite 200, Roswell, Georgia 30075.
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                                  EXHIBIT A
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Eat Here Brands, LLC, et al. - Service List to e-mail Recipients
                                                                                                      Desc Served
                                                                                                           Main 8/31/2019
                                                           Document     Page 4 of 4
OFFICE OF THE UNITED STATES TRUSTEE
LINDSAY P.S KOLBA
LINDSAY.P.KOLBA@USDOJ.GOV


                                                                                  Parties Served: 1




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